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                    EXHIBIT B
       Case
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                                 United States District Court
                                Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

     DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF PLAINTIFF’S
       RESPONSE TO DEFENDANT’S MOTION FOR PROTECTIVE ORDER

       I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

       2.      I respectfully submit this Declaration in support of Plaintiff Virginia Giuffre’s

Response to Defendant’s Motion for Protective Order.

       3.      Attached hereto as Exhibit 1, is a true and correct copy of Plaintiff’s February 5,

2016 Notice of Taking Videotaped Deposition of Defendant Ghislaine Maxwell.

       4.      Attached hereto as Exhibit 2, is a true and correct copy of the Re-Notice of

Taking Videotaped Deposition of Defendant Ghislaine Maxwell.

       5.      Attached hereto as Exhibit 3, is a true and correct copy of Defendant’s counsel,

Laura Menninger’s February 25, 2016 Email Correspondence to Sigrid McCawley.
        Case
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        6.     Attached hereto as Exhibit 4, is a true and correct copy of the Plaintiff’s proposed

Protective Order in redline format and clean format sent to Laura Menninger on February 25,

2016.

        7.     Attached hereto as Exhibit 5, is a true and correct copy of Plaintiff’s proposed

Protective Order in redline format and clean version.

        I declare under penalty of perjury that the foregoing is true and correct.


                                                      /s/ Sigrid S. McCawley______
                                                      Sigrid S. McCawley, Esq.




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Dated: March 4, 2016

                                     Respectfully Submitted,

                                     BOIES, SCHILLER & FLEXNER LLP

                                 By: /s/ Sigrid McCawley
                                      Sigrid McCawley (Pro Hac Vice)
                                      Boies, Schiller & Flexner LLP
                                      401 E. Las Olas Blvd., Suite 1200
                                      Ft. Lauderdale, FL 33301
                                      (954) 356-0011

                                      David Boies
                                      Boies, Schiller & Flexner LLP
                                      333 Main Street
                                      Armonk, NY 10504

                                      Ellen Brockman
                                      Boies, Schiller & Flexner LLP
                                      575 Lexington Ave
                                      New York, New York 10022
                                      (212) 446-2300




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 4, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served this day on the individuals identified below via transmission of Notices

of Electronic Filing generated by CM/ECF.

       Laura A. Menninger, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com


                                                    /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley




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                  EXHIBIT 5
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                                   United States District Court
                                  Southern District Of New York



Virginia L. Giuffre,

         Plaintiff,


v.                                                                     15-cv-07433-RWS

Ghislaine Maxwell,
         Defendant.




                             [PROPOSED] PROTECTIVE ORDER

        Upon a showing of good cause in support of the entry of a protective order to protect

the discovery and dissemination of confidential information, including sensitive personal

information relating to a victim of sexual abuse, copyright or trade secrets, commercially

sensitive information, or proprietary information. or information which will improperly annoy,

embarrass, or oppress any party, witness, or person providing discovery in this case,

        Purposes And Limitations                                                                         Formatted: List Paragraph, Indent: First line:
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        The Parties acknowledge that this Order does not confer blanket protections on all               Formatted: Font: 12 pt, Font color: Black
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disclosures during discovery. Designations under this Order shall be made sparingly, with care,          Before: 0 pt, Line spacing: Double


and shall not be made absent a good faith belief that the designated material satisfies the criteria

set forth herein. If it comes to a Designating Party’s attention that designated material does not

qualify for protection at all, or does not qualify for the level of protection initially asserted, the

Designating Party must promptly notify all other parties that it is withdrawing or changing the

designation.
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IT IS ORDERED:                                                                            Formatted: Indent: First line: 0.5", Space
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1.    This Protective Order shall apply to all documents, materials, and information,

      including without limitation, documents produced, answers to interrogatories,

      responses to requests for admission, deposition testimony, and other information

      disclosed pursuant to the disclosure or discovery duties created by the Federal

      Rules of Civil Procedure.

2.    As used in this Protective Order, “document” is defined as provided in

      FED.R.CIV.P. 34(a). A draft or non-identical copy is a separate document within

      the meaning of this term.

3.    Information designated “CONFIDENTIAL” shall be information that is

      confidential and implicates is covered by common law and statutory privacy

      interests protections of (a) plaintiff Virginia Roberts Giuffre and (b) defendant

      Ghislaine Maxwell or (c) any non-party that was subject to sexual abuse.

4.    CONFIDENTIAL information shall not be disclosed or used for any purpose

      except the preparation and trial of this case and any related matter, including

      but not limited to, investigations by law enforcement.

5.    CONFIDENTIAL documents, materials, and/or information (collectively

      “CONFIDENTIAL INFORMATION”) shall not, without the consent of the

      party producing it or further Order of the Court, be disclosed except that such

      information may be disclosed to:

      a. attorneys actively working on this case;
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      b. persons regularly employed or associated with the attorneys actively

         working on this case whose assistance is required by said attorneys in the

         preparation for trial, at trial, or at other proceedings in this case;

      c. the parties;

      d. expert witnesses and consultants retained in connection with this

         proceeding, to the extent such disclosure is necessary for preparation, trial

         or other proceedings in this case;

      e. the Court and its employees (“Court Personnel”) in this case;

      f. stenographic reporters who are engaged in proceedings necessarily incident

         to the conduct of this action;

      g. deponents, witnesses, or potential witnesses; and

      h. any person (1) who authored or received the particular Protected Material; (2)

         who has or had at any point in time access to the Protected Material outside of

         the context of this action; or (3) for which there is a good faith basis to

         conclude that the individual has earlier received or seen such Protected

         Material; and

      hi. any other persons by written agreement of the parties or by Order of a Court     Formatted: Font: 12 pt


         of competent jurisdiction.

6.    Prior to disclosing any CONFIDENTIAL INFORMATION to any person

      listed above (other than counsel, persons employed by counsel, Court

      Personnel and stenographic reporters), counsel shall provide such person with

      a copy of this Protective Order and obtain from such person a written

      acknowledgment stating that he or she has read this Protective Order and



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       agrees to be bound by its provisions. All such acknowledgments shall be

       retained by counsel and shall be subject to in camera review by the Court if

       good cause for review is demonstrated by opposing counsel.


7.     Documents are designated as CONFIDENTIAL by placing or affixing on them

       (in a manner that will not interfere with their legibility) the following or other

       appropriate notice: “CONFIDENTIAL.” Discovery material designated

       CONFIDENTIAL shall be identified by Bates number. To the extent practical,

       the respective legend shall be placed near the Bates number.

8.     Designation of a document as CONFIDENTIAL INFORMATION shall

       constitute a representation that such document has been reviewed by an

       attorney for the designating party, that there is a valid and good faith basis for

       such designation, made at the time of disclosure or production to the receiving

       party, and that disclosure of such information to persons other than those

       permitted access to such material would cause a privacy harm to the

       designating party.

9.     Whenever a deposition involves the disclosure of CONFIDENTIAL

       INFORMATION, the deposition or portions thereof shall be designated as

       CONFIDENTIAL and shall be subject to the provisions of this Protective

       Order. Such designation shall be made on the record during the deposition

       whenever possible, but a party may designate portions of depositions as

       CONFIDENTIAL after transcription, provided written notice of the




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        designation is promptly given to all counsel of record within thirty (30) days

        after notice by the court reporter of the completion of the transcript, and until

        the expiration of such thirty (30) days after notice by the court reporter of the

        completion of the transcript, no party or counsel for any such party may share

        the contents of the deposition outside the limitations of this Protective Order.
                                                                                            Formatted: Indent: Left: 0.5", Tab stops: 1",
10.     Whenever a party seeks to file any document or material containing                  Left + Not at 0.5" + 0.65"



        CONFIDENTIAL INFORMATION with the Court in this matter, it shall be

        accompanied by a Motion to Seal pursuant to Section 6.2 of the Electronic Case

        Filing Rules & Instructions for the Southern District of New York.
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                                                                                            bullets or numbering
        A party may object to the designation of particular CONFIDENTIAL

INFORMATION by giving written notice to the party designating the disputed

information. The written notice shall identify the information to which the objection is

made. If the parties cannot resolve the objection within ten (10) business days after the

time the notice is received, it shall be the obligation of the party designating the
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information as CONFIDENTIAL to file an appropriate motion requesting that the Court

determine whether the disputed information should be subject to the terms of this

Protective Order. If such a motion is timely filed, the disputed information shall be

treated as CONFIDENTIAL under the terms of this Protective Order until the Court rules

on the motion. If the designating party fails to file such a motion within the prescribed

time, the disputed information shall lose its designation as CONFIDENTIAL and shall

not thereafter be treated as CONFIDENTIAL in accordance with this Protective Order. In



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connection with a motion filed under this provision, the party designating the information

as CONFIDENTIAL shall bear the burden of establishing that good cause exists for the

disputed information to be treated as CONFIDENTIAL.
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11.     Challenging Designations Of Protected Material
                                                                                               Formatted: Font: 12 pt, Font color: Black
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        (a) A Party shall not be obligated to challenge the propriety of any designation of
                                                                                               Formatted: Font: 12 pt

        dDiscovery mMaterial under this Order at the time the designation is made, and a       Formatted: Indent: Left: 0.5", Hanging:
                                                                                               0.5", No bullets or numbering, Tab stops: 1",
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        failure to do so shall not preclude a subsequent challenge thereto. Moreover,
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        failure to challenge the designation of any dDiscovery mMaterial as
                                                                                               Formatted: Font: 12 pt

        CONFIDENTIAL or HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES

        ONLY shall not in any way constitute an admission that such material contains

        any competitively sensitive information, trade secret information, or other

        protectable material.
                                                                                               Formatted: Font: 12 pt, Font color: Black
        12.    (b)     In   the   event    that   counsel    for   the   Party    receiving
                                                                                               Formatted: Font: 12 pt, Font color: Black
        CONFIDENTIALProtected Material objects to the CONFIDENTIAL or

        HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY designation of any

        or all such items, said counsel shall provide the Producing Party and, if different,

        the Designating Party written notice of, and the basis for, such objections. The

        Parties will use their best efforts to resolve such objections among themselves.

        Should the Receiving Party, the Producing Party and, if different, the Designating

        Party be unable to resolve the objections, the Receiving Party may seek a hearing

        before this Court with respect to the propriety of the designation.             The
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        Designating Party will cooperate in obtaining a prompt hearing with respect

        thereto. Pending a resolution, the discovery material in question shall continue to
                                                                                              Formatted: Font: 12 pt, Font color: Black
        be treated as CONFIDENTIALProtected Material as provided hereunder. The
                                                                                              Formatted: Font: 12 pt, Font color: Black
        burden of proving that dDiscovery mMaterial is properly designated shall at all       Formatted: Font: 12 pt, Font color: Black


        times remain with the Designating Party.
                                                                                              Formatted: Font: 12 pt
12.     At the conclusion of this case, unless other arrangements are agreed upon, each       Formatted: Indent: Left: 0.5", Tab stops: 1",
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        document and all copies thereof which have been designated as CONFIDENTIAL

        shall be returned to the party that designated it CONFIDENTIAL, or the parties

        may elect to destroy CONFIDENTIAL documents. Where the parties agree to

        destroy CONFIDENTIAL documents, the destroying party shall provide all parties

        with an affidavit confirming the destruction.
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13.     With respect to any dDiscovery mMaterial produced by such non-party, the non-         0.5", Tab stops: 1", List tab + Not at 0.5"



        party may invoke the terms of this Order in writing to all Parties by designating

        dDiscovery mMaterial “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—

        ATTORNEYS’ EYES ONLY”. Any such pProtected mMaterial produced by the

        non-party designated “CONFIDENTIAL” or ““HIGHLY CONFIDENTIAL—

        ATTORNEYS’ EYES ONLY” shall be subject to the restrictions contained in this

        Order and shall only be disclosed or used in a manner consistent with this Order.
                                                                                              Formatted: Indent: Left: 0.5", Tab stops: 1",
14.     In the event that any Producing Party inadvertently produces dDiscovery               List tab + Not at 0.5"



        mMaterial    eligible   for   designation   as   CONFIDENTIAL        or   HIGHLY

        CONFIDENTIAL—ATTORNEYS’ EYES ONLY without such designation, the
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        Parties agree that the Producing Party may retroactively apply the correct

        designation. If a Producing Party makes a subsequent designation, the Receiving

        Party will treat the Protected Material according to the retroactive designation,

        including undertaking best efforts to retrieve all previously distributed copies from

        any recipients now ineligible to access the Protected Material.
                                                                                                Formatted: Font: 12 pt
13.     .15. Limitations.   Nothing in this Order shall restrict in any way the use or          Formatted: Indent: Left: 0.5", Hanging:
                                                                                                0.5", No bullets or numbering, Tab stops: 1",

        disclosure of CONFIDENTIAL materialProtected Material by a Receiving Party              Formatted: Font: 12 pt



        (a) that is or has become publicly known through no fault of the Receiving Party;

        (b) that is lawfully acquired by or known to the Receiving Party independent of

        the Producing Party; (c) that was previously produced, disclosed, and/or provided

        by the Producing Party to the Receiving Party or a non-party without an

        obligation of confidentiality and not by inadvertence or mistake; (d) with the

        consent of the Producing Party and, if different, the Designating Party; (e)

        pursuant to Order of the Court; or (f) for purposes of law enforcement.
                                                                                                Formatted: Indent: Left: 0.5", Tab stops: 1",
14.     165. This Protective Order shall have no force and effect on the use of any             List tab + 6.25", Right + Not at 0.5"
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        CONFIDENTIAL INFORMATION at trial in this matter.                                       Formatted: Font: Font color: Auto

                                                                                                Formatted: Left, Indent: Left: 0", Hanging:
17.17. This Protective Order may be modified by the Court at any time for good cause            1", No bullets or numbering



        shown following notice to all parties and an opportunity for them to be heard.
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               BY THE COURT



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               UNITED STATES DISTRICT JUDGE
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                                   United States District Court
                                  Southern District Of New York



Virginia L. Giuffre,

         Plaintiff,


v.                                                                     15-cv-07433-RWS

Ghislaine Maxwell,
         Defendant.




                             [PROPOSED] PROTECTIVE ORDER

        Upon a showing of good cause in support of the entry of a protective order to protect

the discovery and dissemination of confidential information, including sensitive personal

information relating to a victim of sexual abuse, copyright or trade secrets, commercially

sensitive information, or proprietary information.

Purposes And Limitations

        The Parties acknowledge that this Order does not confer blanket protections on all

disclosures during discovery. Designations under this Order shall be made sparingly, with care,

and shall not be made absent a good faith belief that the designated material satisfies the criteria

set forth herein. If it comes to a Designating Party’s attention that designated material does not

qualify for protection at all, or does not qualify for the level of protection initially asserted, the

Designating Party must promptly notify all other parties that it is withdrawing or changing the

designation.




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IT IS ORDERED:

1.    This Protective Order shall apply to all documents, materials, and information,

      including without limitation, documents produced, answers to interrogatories,

      responses to requests for admission, deposition testimony, and other information

      disclosed pursuant to the disclosure or discovery duties created by the Federal

      Rules of Civil Procedure.

2.    As used in this Protective Order, “document” is defined as provided in

      FED.R.CIV.P. 34(a). A draft or non-identical copy is a separate document within

      the meaning of this term.

3.    Information designated “CONFIDENTIAL” shall be information that is

      confidential and is covered by common law and statutory privacy protections of

      (a) plaintiff Virginia Roberts Giuffre and (b) defendant Ghislaine Maxwell or

      (c) any non-party that was subject to sexual abuse.

4.    CONFIDENTIAL information shall not be disclosed or used for any purpose

      except the preparation and trial of this case and any related matter, including

      but not limited to, investigations by law enforcement.

5.    CONFIDENTIAL documents, materials, and/or information (collectively

      “CONFIDENTIAL INFORMATION”) shall not, without the consent of the

      party producing it or further Order of the Court, be disclosed except that such

      information may be disclosed to:

      a. attorneys actively working on this case;




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      b. persons regularly employed or associated with the attorneys actively

         working on this case whose assistance is required by said attorneys in the

         preparation for trial, at trial, or at other proceedings in this case;

      c. the parties;

      d. expert witnesses and consultants retained in connection with this

         proceeding, to the extent such disclosure is necessary for preparation, trial

         or other proceedings in this case;

      e. the Court and its employees (“Court Personnel”) in this case;

      f. stenographic reporters who are engaged in proceedings necessarily incident

         to the conduct of this action;

      g. deponents, witnesses, or potential witnesses;

      h. any person (1) who authored or received the particular Protected Material; (2)

         who has or had at any point in time access to the Protected Material outside of

         the context of this action; or (3) for which there is a good faith basis to

         conclude that the individual has earlier received or seen such Protected

         Material; and

      i. any other persons by written agreement of the parties or by Order of a Court

         of competent jurisdiction.

6.    Prior to disclosing any CONFIDENTIAL INFORMATION to any person

      listed above (other than counsel, persons employed by counsel, Court

      Personnel and stenographic reporters), counsel shall provide such person with

      a copy of this Protective Order and obtain from such person a written

      acknowledgment stating that he or she has read this Protective Order and



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      agrees to be bound by its provisions. All such acknowledgments shall be

      retained by counsel and shall be subject to in camera review by the Court if

      good cause for review is demonstrated by opposing counsel.


7.    Documents are designated as CONFIDENTIAL by placing or affixing on them

      (in a manner that will not interfere with their legibility) the following or other

      appropriate notice: “CONFIDENTIAL.” Discovery material designated

      CONFIDENTIAL shall be identified by Bates number. To the extent practical,

      the respective legend shall be placed near the Bates number.

8.    Designation of a document as CONFIDENTIAL INFORMATION shall

      constitute a representation that such document has been reviewed by an

      attorney for the designating party, that there is a valid and good faith basis for

      such designation, made at the time of disclosure or production to the receiving

      party, and that disclosure of such information to persons other than those

      permitted access to such material would cause a privacy harm to the

      designating party.

9.    Whenever a deposition involves the disclosure of CONFIDENTIAL

      INFORMATION, the deposition or portions thereof shall be designated as

      CONFIDENTIAL and shall be subject to the provisions of this Protective

      Order. Such designation shall be made on the record during the deposition

      whenever possible, but a party may designate portions of depositions as

      CONFIDENTIAL after transcription, provided written notice of the




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      designation is promptly given to all counsel of record within thirty (30) days

      after notice by the court reporter of the completion of the transcript, and until

      the expiration of such thirty (30) days after notice by the court reporter of the

      completion of the transcript, no party or counsel for any such party may share

      the contents of the deposition outside the limitations of this Protective Order.

10.   Whenever a party seeks to file any document or material containing

      CONFIDENTIAL INFORMATION with the Court in this matter, it shall be

      accompanied by a Motion to Seal pursuant to Section 6.2 of the Electronic Case

      Filing Rules & Instructions for the Southern District of New York.

11.   Challenging Designations Of Protected Material

      (a) A Party shall not be obligated to challenge the propriety of any designation of

         discovery material under this Order at the time the designation is made, and a

         failure to do so shall not preclude a subsequent challenge thereto. Moreover,

         failure to challenge the designation of any discovery material as

         CONFIDENTIAL or HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES

         ONLY shall not in any way constitute an admission that such material

         contains any competitively sensitive information, trade secret information, or

         other protectable material.

      (b) In the event that counsel for the Party receiving CONFIDENTIAL Material

         objects   to   the   CONFIDENTIAL         or   HIGHLY       CONFIDENTIAL—

         ATTORNEYS’ EYES ONLY designation of any or all such items, said



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         counsel shall provide the Producing Party and, if different, the Designating

         Party written notice of, and the basis for, such objections. The Parties will use

         their best efforts to resolve such objections among themselves. Should the

         Receiving Party, the Producing Party and, if different, the Designating Party

         be unable to resolve the objections, the Receiving Party may seek a hearing

         before this Court with respect to the propriety of the designation.         The

         Designating Party will cooperate in obtaining a prompt hearing with respect

         thereto.   Pending a resolution, the discovery material in question shall

         continue to be treated as CONFIDENTIAL as provided hereunder.                The

         burden of proving that discovery material is properly designated shall at all

         times remain with the Designating Party.

12.   At the conclusion of this case, unless other arrangements are agreed upon, each

      document and all copies thereof which have been designated as CONFIDENTIAL

      shall be returned to the party that designated it CONFIDENTIAL, or the parties

      may elect to destroy CONFIDENTIAL documents. Where the parties agree to

      destroy CONFIDENTIAL documents, the destroying party shall provide all parties

      with an affidavit confirming the destruction.

13.   With respect to any discovery material produced by such non-party, the non-party

      may invoke the terms of this Order in writing to all Parties by designating

      discovery material “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—

      ATTORNEYS’ EYES ONLY”. Any such protected material produced by the



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      non-party designated “CONFIDENTIAL” or ““HIGHLY CONFIDENTIAL—

      ATTORNEYS’ EYES ONLY” shall be subject to the restrictions contained in this

      Order and shall only be disclosed or used in a manner consistent with this Order.

14.   In the event that any Producing Party inadvertently produces discovery material

      eligible for designation as CONFIDENTIAL or HIGHLY CONFIDENTIAL—

      ATTORNEYS’ EYES ONLY without such designation, the Parties agree that the

      Producing Party may retroactively apply the correct designation. If a Producing

      Party makes a subsequent designation, the Receiving Party will treat the Protected

      Material according to the retroactive designation, including undertaking best

      efforts to retrieve all previously distributed copies from any recipients now

      ineligible to access the Protected Material.

15.   Limitations. Nothing in this Order shall restrict in any way the use or disclosure

      of CONFIDENTIAL material by a Receiving Party (a) that is or has become

      publicly known through no fault of the Receiving Party; (b) that is lawfully

      acquired by or known to the Receiving Party independent of the Producing Party;

      (c) that was previously produced, disclosed, and/or provided by the Producing

      Party to the Receiving Party or a non-party without an obligation of

      confidentiality and not by inadvertence or mistake; (d) with the consent of the

      Producing Party and, if different, the Designating Party; (e) pursuant to Order of

      the Court; or (f) for purposes of law enforcement.




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16.   This Protective Order shall have no force and effect on the use of any

      CONFIDENTIAL INFORMATION at trial in this matter.

17.   This Protective Order may be modified by the Court at any time for good cause

      shown following notice to all parties and an opportunity for them to be heard.


BY THE COURT


                                           __________________________________
                                           UNITED STATES DISTRICT JUDGE




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